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  8
  9
                           UNITED STATES DISTRICT COURT
 10
                          CENTRAL DISTRICT OF CALIFORNIA
 11

 12

 13   10PM CURFEW, LLC, a California     ) Case No. 23-cv-02805-MEMF-MRW
      Limited Liability Company,         )
 14                                      )
                                         ) Assigned to the Hon. Maame Ewusi-
 15                    Plaintiff,        ) Mensah Frimpong
                                         )
 16                                      ) DEFENDANTS’ REPLY RE: MOTION TO
             v.                          )
 17                                      ) STAY, OR IN THE ALTERNATIVE
      MAYUR DEEPAK PATIL; FUROR          ) TRANSFER, OR IN THE ALTERNATIVE
 18                                      ) DISMISS COMPLAINT
      MEDIA, LLC, a Tennessee Limited    )
 19   Liability Company; CRUNCH MEDIA, ) Hearing
      LLC, a Tennessee Limited Liability )
 20                                      ) Date: October 26, 2023
      Company; TRAVLY, INC, a Bahamas ) Time: 10:00 a.m.
 21   Corporation                        ) Place: Courtroom 8B (*Request for
                                         )
 22                                      )        Zoom hearing anticipated to be
                       Defendants.       )        filed by moving party)
 23                                      )
                                         )
 24                                      ) Complaint Filed: April 14, 2023
                                         ) Trial Date:        None Set
 25                                      )
                                         )
 26                                      )

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  1   I.    INTRODUCTION
  2         10PM’s Opposition to Defendants’ Motion fails to provide sufficient procedural,
  3   factual, or legal justification for the prosecution of this case in this Court. Accordingly,
  4   the Motion should be granted and this action either stayed in deference to the Indiana
  5   Action, transferred to Indiana to be heard (if at all) concurrently therewith, or dismissed
  6   for failure to state any claims against Defendants upon which relief can be granted.
  7   II.   THE ANTICIPATORY SUIT EXCEPTION IS INAPPLICABLE
  8         Curiously, the authority cited by 10PM in the Opposition almost uniformly
  9   supports the stay, transfer, or dismissal of this case under the first-to-file rule, rather
 10   than supporting 10PM’s arguments to the contrary. For example, the court in
 11   Inherent.com v. Martindale-Hubbell, 420 F. Supp. 2d 1093 (N.D. Cal. 2006)—the
 12   primary case relied on by 10PM for the application of the anticipatory suit exception to
 13   the first-to-file rule—itself declined to apply the anticipatory suit exception to obviate
 14   the first-to-file rule. Instead, the court transferred the second-filed California suit to
 15   New Jersey where the first-filed suit was venued, holding that such transfer would
 16   “further the first-to-file rule’s purpose of promoting efficiency and avoiding the
 17   duplication of litigation.” Id. at 1102. In so doing, the court also noted that that the
 18   propriety of the California forum was dubious because—not unlike 10PM’s assertions
 19   of its California citizenship in this case notwithstanding the dissolution of its California
 20   entity in favor of Panamanian operations—the plaintiff had sought to “gam[e] the venue
 21   question” via changes to the registration of its business. Id.
 22         10PM also mischaracterizes its request that Defendants respond to its counsel’s
 23   third letter by no later than February 13, 2023 as a statement of its intention to file suit
 24   imminently thereafter. Unlike in Inherent.com, 10PM did not state that it would file suit
 25   if a response was not received by February 13, 2023, nor did it even imply that any such
 26   suit would be filed in California. Instead, 10PM at most indicated that it would consider
 27   seeking injunctive relief (in an unspecified jurisdiction) if Defendants did not cease and
 28   desist their allegedly “unlawful behavior.” (See RJN, Ex. 1 (Feb. 10, 2023 letter).) But
                                                   2
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  1   these threats to seek an “immediate court order” have definitively proven to be empty
  2   as more than five months have passed without 10PM applying for any injunction against
  3   Defendants in either the Indiana Action or this case. Moreover, the defendant in
  4   Inherent.com filed its “anticipatory” suit within five days of its receipt of the plaintiff’s
  5   first demand letter, which timing tended to show a rush to the courthouse (albeit not
  6   enough to obviate the application of the first-to-file rule). Here, however, Defendants
  7   filed the Indiana Action after the exchange of three letters and passage of three weeks.
  8   Thus, it was certainly fair to interpret 10PM’s letters not as threats of imminent suit, but
  9   rather as just 10PM “blowing smoke about a potential lawsuit.” See e.g., Bryant v.
 10   Oxxford Exp., Inc., 181 F.Supp.2d 1045, 1048-49 (C.D. Cal. 2000) (declining to apply
 11   the anticipatory suit exception, explaining “[Oxxford’s] letter, however, gave no
 12   indication that a lawsuit was imminent, or that [Oxxford] was doing anything more than
 13   blowing smoke about a potential lawsuit”).1
 14         10PM’s allegation that Defendants’ Motion mischaracterizes the record of
 15   10PM’s correspondence preceding the filing of the Indiana Action is baseless.
 16   Defendants specifically provided copies of this correspondence (which was attached to
 17   the Complaint in the Indiana Action) to the Court for its own review via the Request for
 18   Judicial Notice accompanying the Motion to ensure that the record was and is fully
 19   available for this Court’s review. Such transparency was and is in stark contrast to
 20   10PM’s seemingly intentional efforts to conceal the pendency of the Indiana Action by
 21   not even referring to it in its Complaint in this action despite filing the Complaint two
 22   months after the Indiana Action and then failing to apprise the Court of the Indiana
 23   Action via Local Rule 83-1.4. The Opposition’s revisionist characterization of 10PM’s
 24   counsel’s pre-suit correspondence is also directly belied by its counsel’s admissions in
 25

 26   1
        Here again, 10PM’s citation to Bryant in its Opposition is utterly confounding given
 27   that the case contradicts 10PM’s position. This inapposite citation, and many other
 28
      similarly curious citations in the Opposition, might explain why 10PM’s counsel elected
      to submit the Opposition unsigned, rather than
                                                   3   certifying its compliance with Rule 11.
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  1   his correspondence with Defendants’ counsel in the wake of the filing of the Indiana
  2   Action in which he expressly disclaimed that the purpose of his prior letters was to
  3   threaten imminent suit. (See Reply Declaration of Anthony E. Dowell, Ex. 1.) Instead,
  4   10PM’s counsel proclaimed his purpose was “to see if we as counsel could try to get
  5   the parties to some sort of resolution without the need for lengthy and costly formal
  6   proceedings” and asked that Defendants “voluntarily dismiss [the Indiana Action]
  7   without prejudice so that we can discuss resolution in a manner that is professional and
  8   considerate.” (Id.) 10PM cannot have it both ways—it cannot first admit to Defendants
  9   that its threats of suit were just a negotiating tactic, but now, to avoid the consequences
 10   of a failed bluff, assert that it nevertheless imminently intended to file suit.
 11          Again, the Central District case with by far the most analogous first-to-file facts
 12   to those at bar is Key Equip. Fin. v. Fed. Express Corp, which was discussed at length
 13   in Defendants’ Motion. See also, Palantir Techs., Inc. v. Palantir.net, Inc, 2007 WL
 14   2900499, at *1 (N.D. Cal. Oct. 2, 2007) (“Palantir.net has not shown that it
 15   communicated to PTI that a lawsuit was ‘imminent.’ At most, Palantir.net threatened to
 16   ‘take legal action to protect its interests’ in the event an amicable resolution could not
 17   be reached.’. . . Here, unlike in Sony, Palantir.net did not even provide PTI with a draft
 18   complaint or threaten to file an infringement action by a certain date. Therefore,
 19   Palantir.net fails to meet the first exception to the ‘first-to-file’ rule.”) (Emphasis
 20   added). Thus, as in Key, the only remaining question for this Court should be whether
 21   to merely stay this case under the first-to-file rule, or, as in Inherent.com, transfer it the
 22   Northern District of Indiana pursuant to 28 U.S.C § 1404(a).
 23   III.   THE OPPOSITION FAILS TO ESTABLISH THAT ANY CLAIM FOR
 24          AGAINST DEFENDANTS IS SUFFICIENTLY PLED

 25          Like its legally and factually inapposite first-to-file arguments, 10PM’s trade
 26   secret analysis significantly misconstrues applicable law in a fashion that merely
 27   reinforces Defendants’ arguments in the Motion. For example, 10PM cites Balboa Ins.
 28   Co. v. Trans Global Equities, 218 Cal.App.3d 1327 (1990) for the proposition that,
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  1   under California law, “there need not be a confidential relationship between the holder
  2   of the trade secret and the person to whom it is disclosed to preserve the trade secret.”
  3   Opp. at 5:16-17. 10PM’s improper failure to include a pin cite for this “holding” is not
  4   surprising because the case makes no such holding. And even if it had so held, the
  5   Balboa court observes in a footnote that its holding is limited to alleged
  6   misappropriations that occurred before January 1, 1985, because thereafter California
  7   adopted CUTSA, which superseded common law. Id. at 1345, fn. 22.
  8         Instead, the primary inquiry in Balboa was whether copyright law preempts
  9   unfair competition claims based on trade secret and breaches of confidence or fiduciary
 10   duty. Id. at 1339. The court found that the plaintiff had stated separate claims for breach
 11   of fiduciary duty and trade secrets that were not coextensive with copyright and allowed
 12   these claims to stand, while separately ruling that the misappropriation claims related
 13   to allegedly stolen software were in fact preempted by copyright. Id. at 1353. Balboa
 14   thus supports Defendants’ argument in the Motion that, to the extent 10PM’s claims are
 15   based upon the unauthorized use of Beauty ASMR, they too are preempted by copyright
 16   even though 10PM has not alleged—and cannot allege—a copyright infringement
 17   claim. Accordingly, 10PM’s claims in this case must rise or fall exclusively upon
 18   whether 10PM has sufficiently alleged that its “relationships” with social media
 19   companies such as Snapchat are trade secrets.
 20         In support of its argument that these “relationships” satisfy CUTSA’s pleading
 21   standard, 10PM confoundingly relies on Diodes, Inc. v. Franzen, 260 Cal.App.2d 244
 22   (1968), yet another state court case that predates CUTSA. Notably, this District has
 23   directly called into question the Diodes standard’s continuing viability to federal
 24   pleading jurisprudence in light of the “significant developments in the law governing
 25   pleading standards that have occurred since 1968, including the seminal Twombly and
 26   Iqbal cases.” See Hiossen, Inc. v. Kim, No. CV1601579SJOMRWX, 2016 WL
 27   10987365, at *5 (C.D. Cal. Aug. 17, 2016). 10PM not only ignores this District’s
 28   criticism of Diodes, but also, and even more crucially, completely fails to address Rule
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  1   9(b)’s heightened pleading standard, which necessarily applies to all of the Complaint’s
  2   claims since each of them sound in fraud. See e.g., Complaint, ¶¶ 45, 48, 50, 51, 52, 54,
  3   71, & 77 (invoking the terms “fraud” or “fraudulent” and myriad other paragraphs using
  4   the terms “malice” or “malicious”); accord, Talece Inc. v. Zheng Zhang, 2020 WL
  5   6205241, at *4 (N.D. Cal. Oct. 22, 2020) (“In addition to the blanket requirement that
  6   breach of fiduciary claims must be pled under Rule 9(b), the entire claim expressly
  7   relies on alleged fraudulent conduct. Plaintiff avers that Defendant acted with ‘malice,
  8   oppression, and fraud’ . . . intentionally misrepresented his duties and acted to the
  9   detriment of Plaintiff for his own benefit. By specifically alleging fraud and alleging
 10   facts that rely on fraudulent behavior, Plaintiff has averred fraud under the breach of
 11   fiduciary duty claim, and thus, this cause of action is subject to the heightened pleading
 12   standards of Rule 9(b).”)
 13         But, even if Rule 9(b)’s heightened pleading standard were not deemed
 14   applicable to Plaintiff’s claims, and even if the “standard” set forth in Diodes was still
 15   the operative pleading standard for misappropriation of trade secrets claims alleged in
 16   federal court in this District after Iqbal and Twombly, 10PM still misstates and
 17   misapplies this standard in its Opposition. Specifically, 10PM selectively quotes from
 18   Diodes and similar cases for the proposition that a plaintiff “does not have to spell out
 19   the details” of its trade secrets in order to state a claim.” In so doing, 10PM intentionally
 20   buries the lede by conveniently omitting the Diodes court’s immediate clarification
 21   thereafter that “[t]he plaintiff must nevertheless allege the ultimate facts showing the
 22   existence of a trade secret or other confidential data to state such a cause of action” and
 23   admonition that “[a]n averment simply that the plaintiff has a ‘secret process’ is a bare
 24   legal conclusion.” Id. The Diodes court thus held that the plaintiff’s complaint, which
 25   “speaks in circumlocutions and innuendos” failed to state a claim because “[t]he subject
 26   matter of the so-called ‘secret process’ is not stated, except to hint that it had something
 27   to do with the manufacture of diodes.” Id. at 251. Here too 10PM’s Complaint speaks
 28   exclusively in circumlocutions and innuendos, suggesting only that its “relationships”
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  1   with social media companies such as Snapchat are trade secrets, even though these
  2   relationships were and are, by their very nature, publicized on social media. See
  3   Complaint, ¶ 20. 10PM further insists that Beauty ASMR was somehow a confidential
  4   business opportunity, even though the content itself was not in any way legally
  5   protectable and 10PM’s intention all along was to publicize it via social media.
  6         As explained by Central District Judge George H. Wu in Balik v. Spiral Toys Inc.,
  7   No. CV 15-8112-GW(PLAX), 2016 WL 7496134, (C.D. Cal. Feb. 1, 2016), such
  8   allegations fail to state any claim upon which relief can be granted as a matter of law.
  9   In Balik, the plaintiff alleged that defendant misappropriated his idea for a Bluetooth-
 10   enabled toy. Id. at *4. Judge Wu held otherwise, observing that this idea could not be a
 11   trade secret because the plaintiff’s actions “clearly show[ed] that he did not intend to
 12   maintain his idea as a secret, nor did he take reasonable efforts to keep his idea a secret.”
 13   Id. (observing that the plaintiff “admit[ted] that he disclosed his toy idea via PowerPoint
 14   slides ‘to every major toy company and every major studio consumer products
 15   division.’”). As in Balik, 10PM’s actions in this case show that it did not intend to
 16   maintain Beauty ASMR as a trade secret; rather its goal was just the opposite.
 17   Moreover, 10PM has not explained how or why its “relationships” with Snapchat and
 18   other social media companies were any different than those maintained by other social
 19   media channel operators skilled in the trade. Accordingly, 10PM’s claims, as asserted,
 20   fail to state a claim as a matter of law.
 21         Another Central District case, Jun-En Enter. v. Lin, No. CV 12-2734 PSG (SSX),
 22   2013 WL 12126115 (C.D. Cal. June 17, 2013), is also directly on point and fatal to
 23   10PM’s assertions that its trade secrets are alleged with the requisite degree of
 24   specificity (even under the lesser Rule 8 standards). The plaintiffs in Ju-En were
 25   Taiwanese corporations who manufacture and sell metal products and machinery
 26   internationally, and particularly, in California. The plaintiffs engaged defendant Peter
 27   Lin (“Lin”) to market and sell their products. The plaintiffs alleged that Lin diverted
 28   their customers to competitor businesses, including Lin’s own business, which they
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  1   allege was created to appear to be associated with the plaintiffs’ business. Id. at *1. In
  2   their first amended complaint (“FAC”), as in their original complaint, the plaintiffs
  3   generally alleged that “Defendant Lin utilized his position as agent for Plaintiffs [] to
  4   acquire proprietary information regarding potential customers and business leads that
  5   derived independent economic value from not being generally known to the public, or
  6   to other persons who could obtain economic advantage from its disclosure, and as to
  7   which Plaintiffs made reasonable efforts to maintain secrecy.” Id. at *2.
  8         After having already once afforded the plaintiffs leave to amend in an effort to
  9   add specificity to their claims, Judge Philip S. Gutierrez again held that the allegations
 10   in the FAC failed for lack of specificity. Judge Gutierrez explained: “Here, merely
 11   pleading that the proprietary information relates to potential customers and business
 12   leads is insufficient. The SAC does not explain why the vague category of information
 13   regarding potential customers and business leads was proprietary information.” Id. at
 14   *2 (emphasis added) (citing and quoting Farhang v. Indian Inst. of Tech., Kharagpur,
 15   2010 WL 2228936, at *14 (N.D. Cal. June 1, 2010) (finding that an employer’s claim
 16   that a former employee misappropriated “business models and implementations” did
 17   not “describe the subject matter of the trade secret with sufficient particularity to
 18   separate it from matters of general knowledge in the trade or of special knowledge of
 19   those persons who are skilled in the trade,” nor did it “permit the defendant to ascertain
 20   at least the boundaries within which the secret lies.”)). Judge Gutierrez also found that
 21   the plaintiffs’ claims for unfair competition, breach of duty of loyalty, unfair business
 22   practices, and tortious interference were based upon the same nucleus of facts as their
 23   trade secrets claim because, in essence, they alleged that “Defendants used proprietary
 24   information . . . to divert customers away from Plaintiffs.” Id. at *4. Judge Gutierrez
 25   observed “it is unclear how misappropriating information regarding potential customers
 26   and business leads arises from a different nucleus of facts than diverting business to
 27   competing companies.” Id. at *3. Finally, Judge Gutierrez explained that dismissal
 28   based upon CUTSA preemption was proper even “where a cause of action is superseded
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  1   in part by CUTSA at the pleading stage.” Id. (emphasis added) (citing numerous cases).
  2         Here, as in Ju-En, 10PM baldly alleges that its relationships with social media
  3   companies were proprietary; but it does not explain why these relationships are any
  4   different than relationships maintained by other similarly situated content purveyors
  5   with these same individuals at these same social media companies.2 To the contrary,
  6   10PM without support, explanation, or details labels these relationships as “protected,
  7   proprietary, and trade secret information.” Complaint ¶ 20; contra, Ashcroft v. Iqbal,
  8   556 U.S. 662, 678 (2009) (“A pleading that offers ‘labels and conclusions’ or ‘a
  9   formulaic recitation of the elements of a cause of action will not do.’ Nor does a
 10   complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual
 11   enhancement.’”) (citations omitted). And even if these supposed relationships could
 12   qualify as trade secrets, the Complaint is devoid of any factual allegations regarding
 13   their independent economic value or efforts to maintain their secrecy. See e.g., Green
 14   Crush LLC v. Paradise Splash I, Inc., No. SACV1701856CJCJDEX, 2018 WL
 15   4940825, at *7 (C.D. Cal. May 3, 2018) (dismissing claim for misappropriation of trade
 16   secrets even though plaintiff provided sufficient detail regarding the identity of the trade
 17   secret because plaintiff failed to include factual allegations regarding the independent
 18   economic value of those trade secrets or plaintiff’s efforts to maintain secrecy).
 19   Tellingly, 10PM does not allege that Patil or Furor were required to sign any sort of
 20   non-disclosure or confidentiality agreement prior to being provided access to these
 21   relationships or were ever told by 10PM that such relationships were confidential,
 22   proprietary, and/or a trade secret that was not to be disclosed outside of Defendants’
 23   arrangements with Plaintiffs.3
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      2
 25
       In fact, 10PM specifically admits that at least fifty other Snapchat publishing partners
      have identical relationships. See Complaint, ¶¶ 30-33.
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      3
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       10PM’s invocation of Angelica Textile Servs., Inc. v. Park, 220 Cal. App. 4th 495, 510
      (2013) as a last gasp effort to avoid preemption is unavailing. (See Opposition at 11:12-
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                                                   9
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 1             Finally, as in Ju-En, the gravamen of 10PM’s eight ostensibly non-trade secret
 2   claims is that Defendants “used proprietary information . . . to divert customers away
 3   from Plaintiffs.” Ju-En, supra, 2013 WL 12126115, at *4. 10PM’s examples of
 4   supposed distinguishing factors among its claims are circular and unintelligible. (See
 5   Opposition at 11:17-12:5.) Accordingly, as in Ju-En, these claims must be deemed
 6   preempted on the “facts” alleged.
 7   IV.       CONCLUSION
 8             For the foregoing reasons, and those previously set forth in Defendants’ Motion,
 9   Defendants respectfully request that this Court stay all proceedings in this case under
10   the well-established first-to-file rule until the Indiana Action is determined, or, in the
11   alternative, transfer this matter to the Northern District of Indiana so that it may be heard
12   concurrently with the Indiana Action. If, however, the Court declines to stay or transfer
13   this matter under the first-to-file rule, Defendants request that the Court proceed to
14   dismiss the Complaint against all Defendants because it fails to state any cognizable
15   claims against any of them.
16             And because 10PM has failed to even attempt to explain in the Opposition how
17   the Complaint could conceivably be amended to state any viable claims without the
18   same fatal defects, Defendants submit that the Complaint should be dismissed without
19   leave to amend. See Balik, supra, 2016 WL 7496134, at *4 (dismissing
20   misappropriation of trade secrets claim without leave to amend); Kendall v. Visa U.S.A.,
21   Inc., 518 F.3d 1042, 1051-52 (9th Cir. 2008) (concluding that amendment would be
22   futile where plaintiffs already filed an amended complaint containing the same defects
23   as their original complaint and failed to state what additional facts they would plead if
24   given leave to amend, or what additional discovery they would conduct to discover such
25   facts).
26

27   16 & 12:6-7.) The claims held not to be preempted in Angelica were expressly based
28
     upon the defendant’s alleged violation of a non-competition agreement. Id. at 508. No
     such contract claims are at issue in this case.
                                                  10
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 1   Dated: July 19, 2023                    Respectfully submitted,
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 7
                                             Crunch Media, LLC, & Travly, Inc.

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